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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------- X
DAVID WEFER,                           :
                                       :
                                                      CASE NO.: 1:19-cv-00007
Plaintiff,                             :
                                       :
v.                                     :
                                       :
LSC COMMUNICATIONS, INC., THOMAS :
J. QUINLAN, JUDITH H. HAMILTON, M. :
SHÂN ATKINS, MARGARET A. BREYA, :
FRANCIS J. JULES, THOMAS F. O’TOOLE, :
RICHARD K. PALMER, DOUGLAS W. :
STOTLAR,       and     SHIVAN       S. :
SUBRAMANIAM,                           :
                                       :
-------------------------------------- X


                                   NOTICE OF DISMISSAL

       Notice is hereby given that pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil

Procedure, Plaintiff voluntarily dismisses without prejudice the above-titled action. This notice of

dismissal is being filed with the Court before service by Defendants of either an answer or a motion

for summary judgment.

 Dated: February 27, 2019                          Respectfully Submitted,

                                                   MONTEVERDE & ASSOCIATES PC

                                                   /s/ Juan E. Monteverde____________
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